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17
                                    UNITED STATES DISTRICT COURT
18                                NORTHERN DISTRICT OF CALIFORNIA
                                       SAN FRANCISCO DIVISION
19

20   In re: CATHODE RAY TUBE (CRT)                   Case No. 07-5944 SC
     ANTITRUST LITIGATION                            MDL No. 1917
21
     This Document Relates to:                       PANASONIC DEFENDANTS’
22                                                   ADMINISTRATIVE MOTION TO SEAL
                                                     DOCUMENTS PURSUANT TO CIVIL
23                                                   LOCAL RULES 7-11 AND 79-5(d)
     ALL INDIRECT-PURCHASER ACTIONS
24

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     PANASONIC DEFENDANTS’ ADMINISTRATIVE                                        CASE NO. 07-5944 SC
     MOTION TO SEAL DOCUMENTS                                                         MDL NO. 1917
         Case 4:07-cv-05944-JST Document 1537 Filed 01/22/13 Page 2 of 3




 1          Pursuant to Civil Local Rules 7-11 and 79-5(c), Defendants Panasonic Corporation of North

 2   America, MT Picture Display Co., Ltd., and Panasonic Corporation (f/k/a Matsushita Electric

 3   Industrial Co., Ltd.) (collectively, the “Panasonic Defendants”) hereby move the Court for leave to

 4   file the following document, or portion thereof, under seal:

 5                 Additional Errata to the Declaration of Robert D. Willig in Support of the Opposition

 6                  Brief that contains information from documents that Defendants have designated

 7                  “Confidential” or “Highly Confidential.”

 8          This motion is supported by the Declaration of Eva W. Cole. Civil Local Rule 79-5(c)(1)

 9   provides that if a party wishes to file portions of a document under seal, he or she must “[f]ile and

10   serve an Administrative Motion to File Under Seal, in conformance with Civil L.R. 7-11,

11   accompanied by a declaration establishing that a portion of the document is sealable.” Because the

12   documents at issue here relate to a nondispositive motion in opposition to class certification, the

13   Panasonic Defendants need only show that good cause exists for the designated materials to remain

14   under seal.1 See, e.g., Kamakana v. City of Honolulu, 447 F.3d 1172, 1180 (9th Cir. 2006) (“[a]

15   ‘good cause’ showing under Rule 26(c) will suffice to keep sealed records attached to nondispositive

16   motions”); Rich v. Hewlett-Packard Co., 2009 WL 2168688, at *1 (N.D. Cal. Jul 20, 2009)

17   (“Plaintiffs’ motion for class certification involve the procedural requirements of F.R. Civ. Pro. 23

18   and relate only tangentially to the underlying merits of Plaintiffs’ claim. The motion is thus not

19   ‘dispositive’ in the relevant sense, and a showing of good cause is sufficient to justify filing these

20   documents under seal.”). As set forth in the declaration of Eva W. Cole, the standard for filing under

21   seal is met in the present case. The document listed above consists of, cites to, and/or identifies

22   confidential, nonpublic, proprietary and highly sensitive business information, including, among

23   other commercially sensitive business information and strategies, confidential information about

24   defendants’ sales processes, business practices, internal practices, negotiating tactics, confidential

25   business and supply agreements and competitive positions.          This information is confidential

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       Even if the “compelling reasons” standard, enunciated in Kamakana v. City of Honolulu, 447 F.3d
27   1172, 1178 (9th Cir. 2006), were to apply here, the designated materials should still remain under
     seal.
28                                                   -2-
     PANASONIC DEFENDANTS’ ADMINISTRATIVE                                            CASE NO. 07-5944 SC
     MOTION TO SEAL DOCUMENTS                                                             MDL NO. 1917
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 1   commercial information, the disclosure of which would prejudice defendants both in their

 2   commercial relationships with customers and suppliers and in their competitive efforts.

 3   Accordingly, both good cause and compelling reasons exist for portions of these documents to

 4   remain under seal.     Because Civil Local Rule 79-5(a) prohibits the sealing of documents by

 5   agreement of the parties, the parties are unable to enter into such a stipulation. See Civil Local Rule

 6   7-11 (requiring explanation for lack of stipulation).

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24                                                 Co., Ltd.
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     PANASONIC DEFENDANTS’ ADMINISTRATIVE                                             CASE NO. 07-5944 SC
     MOTION TO SEAL DOCUMENTS                                                              MDL NO. 1917
